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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION
                          Civil Hearing Minutes

Case Style:                Pen American Center, Inc., et al. v. Escambia County
                           School District, et al.; 3:23cv10385-TKW/ZCB

Type of Hearing:           Motion Hearing (ECF 107 and 108)

Time Commenced:            1:03 p.m.           Time Concluded:           3:07 p.m.

Presiding:                 Zachary C. Bolitho, U.S. Magistrate Judge

Court Reporter:            Julie Wycoff

Courtroom Deputy:          Sylvia Williams


Attorney(s) for Plaintiffs:
Lynn Oberlander, Esquire
Paul Safier, Esquire

Attorney(s) for Defendants:
Jeffrey Grosholz, Esquire
Nicole Smith, Esquire

This hearing included attendance by:

              Videoconferencing/ZOOM:                 ___ YES      _X__ NO

              Telephone:                              ___ YES      _X__ NO




Filed 9/12/2024
CRD initials: sdw
